
928 A.2d 795 (2007)
400 Md. 97
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Randall E. GOFF, Respondent.
Misc. Docket AG No. 56, Sept. Term, 2005.
Court of Appeals of Maryland.
July 24, 2007.

ORDER
The Court having considered the Petition of Randall E. Goff for Reinstatement and the Response filed thereto by Bar Counsel in the above-captioned case, it is this 24th day of July, 2007,
ORDERED, by the Court of Appeals of Maryland, that the Petition be, and it is hereby, GRANTED, and the Petitioner, Randall E. Goff, is reinstated to the practice of law in this State, and it is further
ORDERED, that the Clerk of the Court shall replace the name of Randall E. Goff upon the register of attorneys entitled to practice law in this State and certify that fact to the Trustees of the Client Protection Fund of Maryland and the Clerks of all judicial tribunals in this State.
